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1    VIRNA L. SANTOS, ESQ., SBN 150017
     Santos Law Group
2    1225 E. Divisadero Street
     Fresno, CA 93721
3    Office: (559) 500-3900
     Fax: (559) 500-3902
4

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7                            IN THE UNITED STATES DISTRICT COURT

8                                 EASTERN DISTRICT OF CALIFORNIA

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10   UNITEDS STATES OF AMERICA,                       )   CASE NO. 1:16-CR-00187 DAD
                                                      )
                                                      )   ORDER RE: DEFENDANT ROBERT
11                                 Plaintiff,         )
                                                      )   GONZALEZ’S REQUEST FOR LEAVE TO
12                     v.                             )   FILE DOCUMENT UNDER SEAL
                                                      )
13   ROBERT GONZALEZ,                                 )
                                                      )
14                                                    )
                                  Defendant.          )
                                                      )
15                                                    )
                                                      )
16                                                    )
17          This matter is before the Court on the request of defendant Roberto Gonzalez to file
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     under seal his request to address medical issues and supporting exhibit. Based on the sensitive
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     medical issues addressed in the defendant's request, it is appropriate that it be filed under seal.
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     Accordingly, the defendant's sealing request is GRANTED. Defendant's motion and exhibit
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     shall be filed under seal.
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     IT IS SO ORDERED.
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24      Dated:      January 15, 2020
                                                          UNITED STATES DISTRICT JUDGE
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